Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 1 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 2 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 3 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 4 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 5 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 6 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 7 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 8 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 9 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 10 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 11 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 12 of
                                        13
Case 22-50073   Doc 1541-1   Filed 03/13/23   Entered 03/13/23 15:16:31   Page 13 of
                                        13
